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                                                                  USDC SDNY
UNITED STATES DISTRICT COURT                                      DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                     ELECTRONICALLY FILED
                                                                  DOC #:
 PRIMYAH GODIAL MIAA PAYNES EL BEY,                               DATE FILED: 7/6/2021
                                  Plaintiff,
                                                                   20-cv-524 (MKV)
                      -against-
                                                                       ORDER
 CROCILLO et al.,

                                  Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The Court is in receipt of the parties’ letters requesting conferences with the Court about

the City’s anticipated motion to dismiss and Plaintiff’s request that the Court appoint pro brono

counsel [ECF #25, 26, 27, 28, 29, 30]. IT IS HEREBY ORDERED that the parties shall appear

for a telephone conference on August 19, 2021 at 10:00 AM. To join, dial 888-278-0296 and

enter access code 5195844.

       The Clerk of Court is respectfully directed to terminate the letter motions pending at

docket entries 25 and 26.

SO ORDERED.
                                                     _________________________________
Date: July 6, 2021                                   MARY KAY VYSKOCIL
      New York, NY                                   United States District Judge
